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10
     and Reynolds Consumer Products LLC
11

12                                  UNITED STATES DISTRICT COURT
13                               NORTHERN DISTRICT OF CALIFORNIA
14

15   LISABETH HANSCOM, on behalf of herself        Case No. 3:21-cv-03434-JSW
     and those similarly situated,
16
                                                   The Honorable Jeffrey S. White
17                               Plaintiffs,
                                                   NOTICE OF MOTION AND MOTION TO
18         v.                                      DISMISS PORTIONS OF SECOND
                                                   AMENDED CLASS ACTION COMPLAINT;
19   REYNOLDS CONSUMER PRODUCTS INC.               MEMORANDUM OF POINTS &
     and REYNOLDS CONSUMER PRODUCTS                AUTHORITIES
20   LLC,
21                                                 Hearing Date: July 29, 2022
                                 Defendants.
                                                   Hearing Time: 9:00 a.m.
22                                                 Courtroom:    5 (Oakland)
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                MOTION TO DISMISS PORTIONS OF SECOND AMENDED CLASS ACTION COMPLAINT
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 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, on July 29, 2022 at 9:00 a.m., or as soon thereafter as the Court is

 3   available, in Courtroom 5 of the federal courthouse located at 1301 Clay Street, Oakland, CA 94612,

 4   Reynolds Consumer Products Inc. and Reynolds Consumer Products LLC (collectively “Reynolds”) will,

 5   and hereby do, move pursuant to Federal Rule of Civil Procedure 12(b)(1) for an order dismissing Plaintiff

 6   Lisabeth Hanscom’s Second Amended Complaint to the extent it seeks injunctive relief. Because this

 7   Court has already dismissed Plaintiff’s claims with prejudice to the extent they seek restitution as opposed

 8   to money damages, this motion—if granted—would necessarily require the dismissal of Plaintiff’s claims

 9   under the Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200 et seq., and the False Advertising

10   Law, Cal. Bus. & Prof. Code §§ 17500 et seq., as the remedies available under those statutes are limited to

11   injunctive relief and restitution.

12           Reynolds’s Motion is based on this Notice of Motion and Motion, the following Memorandum of

13   Points and Authorities, any additional briefing on this subject (including Reynolds’s reply brief), and the

14   evidence and arguments that will be presented to the Court at the hearing on this matter.

15

16   DATED: June 10, 2022                          JENNER & BLOCK LLP

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                                             By:             /s/ Kate T. Spelman
18                                                               Kate T. Spelman

19                                                 Attorneys for Defendants
                                                   Reynolds Consumer Products Inc. and
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                                                   Reynolds Consumer Products LLC
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 1                             INTRODUCTION AND STATEMENT OF ISSUES

 2          From the outset of this case, Plaintiff has insisted that recycling bags should play no role in the

 3   recycling process. As this Court noted in its prior Order dismissing Plaintiff’s claims for injunctive relief,

 4   that assertion forecloses any plausible allegation that she is likely to purchase Hefty recycling bags in the

 5   future, even if Reynolds changed their labeling or composition. See ECF No. 55 (“Order”) at 7–9. Neither

 6   Plaintiff’s attempt to recant this allegation nor the other changes in her Second Amended Complaint

 7   (“SAC”) can overcome this fatal flaw, and the smattering of new allegations in her SAC do not come close

 8   to establishing that Reynolds’s sale of recycling bags poses any credible threat of future harm to Plaintiff.

 9          Plaintiff has now had multiple opportunities to plead an entitlement to injunctive relief. Because

10   she has not done so, this Court should dismiss her claims with prejudice to the extent they seek injunctive

11   relief. And because this Court has already dismissed Plaintiff’s claims with prejudice to the extent they

12   seek restitution as opposed to money damages, it should dismiss her claims under the Unfair Competition

13   Law (“UCL”) and False Advertising Law (“FAL”) with prejudice, as Plaintiff has not plausibly alleged

14   any entitlement to restitution or injunctive relief—the only remedies these two statutes authorize.

15                                        RELEVANT BACKGROUND

16          As explained at length in Reynolds’s earlier motions to dismiss, this case concerns Hefty recycling

17   bags, which are transparent, plastic recycling bags required by municipalities throughout the country. The

18   crux of Plaintiff’s lawsuit is that the labeling of Hefty recycling bags allegedly misleads consumers into

19   believing that Hefty recycling bags are both “recyclable” and “suitable for disposing of recyclable waste.”

20   SAC ¶ 3. Based on that theory of deception, Plaintiff asserts claims for: (1) violations of the Consumers

21   Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750 et seq.; (2) violations of the FAL, Cal. Bus. &

22   Prof. Code §§ 17500 et seq.; (3) “fraud, deceit, and/or misrepresentation”; (4) negligent misrepresentation;

23   and (5) violations of the UCL, Cal. Bus. & Prof. Code §§ 17200 et seq. See SAC ¶¶ 52–102.

24          Although this Court permitted Plaintiff’s theory of mislabeling to proceed past the pleading stage,

25   it dismissed Plaintiff’s claims to the extent they sought restitution and injunctive relief. See Order at 2–9.

26   In so holding, the Court agreed that “Plaintiff’s alleged ongoing desire to purchase its recycling bags is

27   implausible because . . . Plaintiff alleges that ‘recyclables should be clean and dry and should be placed in

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 1   a collection bin without the use of a plastic bag or liner’ and that the recycling collection and transport

 2   process is ‘designed to work without such bags.’” Order at 7 (emphasis in original). As the Court reasoned:

 3          Plaintiff has not alleged any underlying belief in the utility of the recycling bags, either
            generally or as pertains to her own recycling experience, that supports her alleged desire to
 4          purchase recycling bags in the future. Instead, Plaintiff alleges that recyclables should be
            placed in a bin without a plastic bag and that recycling collection is designed to work
 5
            without recycling bags. The import of Plaintiff’s allegations is that recycling bags are
 6          superfluous to the recycling bags regardless of the recyclability of the bag itself. That is,
            even if Reynolds were to reengineer the bags so they were capable of being recycled, it is
 7          implausible that Plaintiff would wish to purchase Reynolds’ recycling bags in the future in
            light of her allegations that recycling bags in general add no benefit to the recycling
 8          collection and transport process.
 9   Id. at 7–8. The Court nonetheless granted Plaintiff leave to amend “to address the deficiencies related to

10   her standing to seek injunctive relief.” Id. at 9. Plaintiff then filed her SAC, which is identical to her First

11   Amended Complaint (“FAC”) with three exceptions:

12
                  First Amended Complaint                               Second Amended Complaint
13
      “As a general rule, recyclables should be clean and “As a general rule, recyclables should be clean and
14    dry and should be placed directly in a collection bin dry and should be placed directly in a collection bin
      without the use of a plastic bag or liner.”           without the use of a plastic bag or liner.”
15

16    FAC ¶ 29.                                               SAC ¶ 29 (deleted text struck through).

17    “Accordingly, the Products are not beneficial to “Accordingly, Because the Products are made of
      either the collection or transport processes, which LDPE film, and for the other reasons addressed
18    are designed to work without such bags.”            above, the Products are not beneficial to either the
                                                          collection or transport process, which are designed
19
                                                          to work without not currently designed to work
20    FAC ¶ 29.                                           with such bags.”

21                                                            SAC ¶ 29 (deleted text struck through and new text
                                                              bolded).
22
      “Plaintiff Hanscom continues to desire to purchase “Plaintiff Hanscom continues to desire to purchase
23    from Defendants trash bags that are suitable for from Defendants trash bags that are suitable for
24    recycling and are recyclable.”                     recycling and recyclable because it is her belief
                                                         that such a product would be cleaner and more
25    FAC ¶ 41.                                          convenient than directly disposing of her
                                                         recyclable waste into her curbside recycling
26                                                       bin."
27                                                            SAC ¶ 41 (new text bolded).
28

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 1   As explained in more detail below, these superficial, cosmetic changes to Plaintiff’s SAC do not come

 2   close to establishing that she has standing to seek injunctive relief.

 3                                                  ARGUMENT

 4   I.     Plaintiff Lacks Standing to Seek Injunctive Relief Because Her Allegations About the Utility
 5          of Recycling Bags Foreclose any Credible Threat of Future Harm.

 6          To establish standing to seek injunctive relief, Plaintiff must plausibly allege a “credible threat of

 7   real and immediate harm” in the future. Levay v. AARP, Inc., No. 17-9041, 2018 WL 5794456, at *3 (C.D.

 8   Cal. Nov. 2, 2018) (quoting Krottner v. Starbucks Corp., 628 F.3d 1139, 1143 (9th Cir. 2010)) (internal

 9   quotation marks omitted); see City of Los Angeles v. Lyons, 461 U.S. 95, 110 (1983) (noting that a plaintiff

10   must establish a “real and immediate threat” of future injury to seek injunctive relief). The purported

11   “threat of future injury cannot be ‘conjectural or hypothetical’ but must be ‘certainly impending.’” Morizur

12   v. Seaworld Parks & Entm’t, Inc., No. 15-2172, 2020 WL 6044043, at *12 (N.D. Cal. Oct. 13, 2020)

13   (White, J.) (quoting Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018)).

14          When a plaintiff seeks injunctive relief after alleging she was previously misled by the defendant’s

15   labeling, that plaintiff must—at a minimum—“indicate some sort of intent to be in the market for the

16   challenged products in the future.” Ketayi v. Health Enrollment Grp., No. 20-1198, 2021 WL 2864481, at

17   *8 (S.D. Cal. July 8, 2021). A plaintiff can satisfy this standard by plausibly alleging that “she will be

18   unable to rely on the product’s advertising or labeling in the future, and so will not purchase the product

19   although she would like to.” Davidson, 889 F.3d at 969–70. But mere “profession of an intent. . . is simply

20   not enough.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 565 (1992) (alterations omitted). Rather, the

21   professed intent must be coupled with “facts sufficient to demonstrate that the injury will proceed with a

22   high degree of immediacy.” Levay, 2018 WL 5794456, at *3. As the Ninth Circuit has explained, a “some

23   day intention—without any description of concrete plans, or even any specification of when the some day

24   will be—does not support a finding of the actual or imminent injury that Article III requires.” Lanovaz v.

25   Twinings N. Am., Inc., 726 F. App’x. 590, 591 (9th Cir. 2018) (citation, internal quotation marks, and

26   alterations omitted).

27          Here, Plaintiff alleges that she “continues to desire to purchase from Defendants trash bags that are

28   suitable for recycling and recyclable because it is her belief that such a product would be cleaner and more


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 1   convenient than directly disposing of her recyclable waste into her curbside recycling bin.” SAC ¶ 41. But

 2   it is impossible to reconcile that allegation with her earlier allegation—which appeared in both her initial

 3   complaint and her FAC—that “recyclables . . . should be placed directly in a collection bin without the use

 4   of a plastic bag or liner.” Compl. ¶ 29 (emphasis in original), FAC ¶ 29 (emphasis in original). Plaintiff

 5   attempts to walk back that allegation by deleting the words “without the use of a plastic bag or liner” from

 6   her SAC and alleging that the use of a recycling bag would be “cleaner and more convenient than directly

 7   disposing of her recyclable waste into her curbside recycling bin.” SAC ¶¶ 29, 41. But the deletion of the

 8   phrase “without the use of a plastic bag or liner” does not meaningfully change the import of this allegation,

 9   as Plaintiff still alleges that recyclables “should be placed directly in a collection bin”—i.e., not into a

10   recycling bag. Id. ¶ 29.

11          Moreover, as the Ninth Circuit has repeatedly made clear, a “party cannot amend pleadings to

12   ‘directly contradict[] an earlier assertion made in the same proceeding.’”1 Airs Aromatics, LLC v.
13   Victoria’s Secret Stores Brand Mgmt., Inc., 744 F.3d 595, 600 (9th Cir. 2014) (quoting Russell v. Rolfs,

14   893 F.2d 1033, 1037 (9th Cir. 1990)). That principle forecloses Plaintiff’s attempted retreat from her

15   earlier allegations about the use of recycling bags. In dismissing her claim for injunctive relief, this Court

16   specifically cited Plaintiff’s allegation that recyclables should be placed “directly in a collection bin

17   without the use of a plastic bag or liner” (FAC ¶ 29) in concluding that she lacked standing to seek

18   injunctive relief. See Order at 7–8 (“Plaintiff alleges that recyclables should be placed in a bin without a

19   plastic bag and that recycling collection is designed to work without recycling bags. The import of

20   Plaintiff’s allegations is that recycling bags are superfluous to the recycling bags regardless of the

21   recyclability of the bag itself.”). Plaintiff cannot avoid that result by simply deleting the phrase “without

22   the use of a plastic bag or liner” from her SAC.

23          Even if the Court looked past Plaintiff’s artful pleading, the allegations of her SAC still do not

24   support her allegation that she is likely to purchase recycling bags in the future. In particular, Plaintiff

25   continues to allege that “bagged recyclables” are not suitable for recycling, as “[m]ost MRFs [municipal

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27   1
      See also, e.g., Lacey v. Maricopa County., 693 F.3d 896, 939 (9th Cir. 2012) (noting that facts alleged in
     an amended complaint “must not be inconsistent with those already alleged”); Reddy v. Litton Indus., Inc.,
28
     912 F.2d 291, 297 (9th Cir. 1990) (noting that an “amended complaint may allege only other facts
     consistent with the challenged pleading”) (citation and internal quotation marks omitted).
                                                     4
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 1   recycling facilities] . . . simply throw bagged recyclables directly into trash.” SAC ¶ 29. She also alleges

 2   that “many MRFs do not accept plastic bags at all,” regardless of the recyclability of the plastic. Id. ¶ 25.

 3   And she alleges that bags made of plastics #3–7—such as Hefty recycling bags—are effectively

 4   unrecyclable because there is no market for those plastics. See id. ¶¶ 4, 24. The upshot of those allegations

 5   (assuming they are true for purposes of this motion) is that Hefty recycling bags are effectively

 6   unrecyclable, regardless of their composition or how they are labeled. Indeed, as the Court noted in its

 7   prior Order, Plaintiff alleges that recycling bags are “superfluous” to the recycling process—which means

 8   it is implausible that she would seek to purchase them again in the future. Order at 7–8; see also, e.g.,

 9   Anthony v. Pharmavite, No. 18-02636, 2019 WL 109446, at *6 (N.D. Cal. Jan. 4, 2019) (dismissing

10   injunctive relief claim with prejudice where the plaintiff alleged that the defendant’s product was

11   “unneeded, superfluous, and will not provide any benefits”); Min Sook Shin v. Umeken USA, Inc., 773 F.

12   App’x 373, 375 (9th Cir. 2019) (affirming dismissal of claim for injunctive relief where the plaintiff alleged

13   that the defendant’s product was “worthless”).

14          Davidson’s general rule that a “previously deceived consumer” can seek injunctive relief based on

15   her alleged “inability to rely on the advertising in the future” does not change this result. 889 F.3d at 967.

16   There, the Ninth Circuit held that the plaintiff had standing to seek injunctive relief because she alleged a

17   “desire to purchase [the defendant’s] flushable wipes” and asserted that she would do so if she knew that

18   the wipes were, in fact, flushable. Id. at 971. Critically, in reaching this conclusion, the Ninth Circuit

19   observed that the plaintiff’s complaint was “devoid of any grounds to discount [her] stated intent to

20   purchase [the wipes] in the future.” Id. (citation and internal quotation marks omitted) (second alteration

21   in original). Here, however, Plaintiff alleges that the use of recycling bags is fundamentally incompatible

22   with the recycling process—which means it is implausible that she will purchase Hefty recycling bags in

23   the future, even if their labeling or composition changed. See Order at 8 (“Thus, unlike in Davidson, there

24   are ‘grounds in the FAC to discount [Plaintiff’s] stated intent to purchase the bags in the future.’”) (quoting

25   Davidson, 889 F.3d at 971).

26          Moreover, while Plaintiff alleges that she would purchase Hefty recycling bags in the future if they

27   were “suitable for recycling” and “recyclable” (SAC ¶ 41), she also alleges that municipal recycling

28   facilities are currently unable to recycle goods that are stored in plastic bags—whether those bags are

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 1   recyclable or not. See id. ¶ 25 (alleging that “many MRFs do not accept plastic bags at all”); id. ¶ 29

 2   (alleging that “the collection [and] transport processes . . . are not currently designed to work with

 3   [recycling] bags” and that “[m]ost MRFs . . . simply throw bagged recyclables directly into trash”). In

 4   contrast to the defendant in Davidson, which could allegedly re-engineer its wipes so that they could be

 5   “flushable,” according to Plaintiff’s allegation Reynolds cannot re-engineer its recycling bags to be

 6   “suitable for recycling” or “recyclable” without industry-wide changes to the recycling process—or, at a

 7   minimum, changes by a critical mass of municipal recycling facilities. And because Plaintiff cannot

 8   reliably predict whether (and when) the recycling industry will make the alleged changes necessary for

 9   recycling bags to become “recyclable” and “suitable for recycling,” she cannot plausibly allege that she

10   faces a “credible threat of real and immediate harm.” Levay, 2018 WL 5794456, at *3 (emphasis added);

11   see also Lanovaz, 726 F. App’x at 591 (holding that a professed intention of purchasing a product someday

12   in the future is insufficient to establish standing to seek injunctive relief absent “any specification of when

13   the some day will be”) (emphasis in original).

14           Given the allegations of her SAC, as well as the express allegations in her prior two complaints that

15   recyclable goods should be placed in a recycling bin “without the use of a plastic bag or a liner,” it is utterly

16   implausible that Plaintiff “inten[ds] to be in the market for the challenged products in the future.” Ketayi,

17   2021 WL 2864481, at *8. And even if Plaintiff were correct that she might purchase recycling bags at

18   some point in the future if they became compatible with the recycling process, this “some day intention”

19   is not remotely sufficient to entitle Plaintiff to seek injunctive relief. Lanovaz, 726 F. App’x at 591. This

20   Court should accordingly dismiss Plaintiff’s claims to the extent they seek injunctive relief.

21   II.     This Court Should Dismiss Plaintiff’s UCL and FAL Claims in Their Entirety.

22           Under California law, “[i]t is well-established that claims for relief under the FAL and UCL are

23   limited to restitution and injunctive relief.” Axelrod v. Lenovo (U.S.) Inc., No. 21-6770, 2022 WL 976971,

24   at *2 (N.D. Cal. Mar. 31, 2022) (White, J.); accord In re Vioxx Class Cases, 180 Cal. App. 4th 116, 130

25   (2009) (“The remedies available in a UCL or FAL action are limited to injunctive relief and restitution.”).

26   This Court has previously dismissed Plaintiff’s claims with prejudice to the extent they seek restitution as

27   opposed to money damages. See Order at 9. Accordingly, if this Court dismisses Plaintiff’s claim for

28   injunctive relief, there is no remedy this Court could award Plaintiff under the UCL or FAL, and this Court

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 1   should dismiss those claims in their entirety. See, e.g., Pardini v. Unilever U.S., Inc., No. 13-1675, 2021

 2   WL 8153616, at *4 (N.D. Cal. Sept. 27, 2021) (White, J.) (granting motion for summary judgment on UCL

 3   and FAL claims where the plaintiffs had failed to establish an entitlement to equitable relief); TopDevz,

 4   LLC v. LinkedIn Corp., No. 20-8324, 2021 WL 6113003, at *6, *9 (N.D. Cal. Dec. 27, 2021) (dismissing

 5   UCL and FAL claims in their entirety when the plaintiffs failed to plead an entitlement to equitable relief).

 6                                                  CONCLUSION

 7          This Court should grant Reynolds’s motion to dismiss. Because Plaintiff has now had multiple

 8   opportunities to plead an entitlement to injunctive relief and has failed to do so, this Court should dismiss

 9   her claims for injunctive relief—including her claims under the UCL and FAL in their entirety—with

10   prejudice and without further leave to amend. See generally Miller v. Yokohama Tire Corp., 358 F.3d 616,

11   622 (9th Cir. 2004) (noting that a district court has “particularly broad” discretion to deny leave to amend

12   when a plaintiff has already amended his complaint) (citation omitted).

13

14   DATED: June 10, 2022
                                                    JENNER & BLOCK LLP
15
                                              By:              /s/ Kate T. Spelman
16
                                                                   Kate T. Spelman
17
                                                    Attorneys for Defendants
18                                                  Reynolds Consumer Products Inc. and
                                                    Reynolds Consumer Products LLC
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